                    Case 2:13-cv-00193 Document 775-42 Filed on 11/19/14 in TXSD Page 1 of 2
From                                Peters Joe
To                                  McCraw        Steven   MacBride     Cheryl Bodisch        Robert     Nolte    Candace

Sent                                6282013       50016       PM
Subject                             FW EIC    Final   Report for 28 June




FYI



From Rodriguez Tony
Sent Friday June 28 2013 452 PM
To Peters Joe
Cc Watkins Paul             Bell   Stephen   Winkley       Salestus   Berkley Johnnie        Silva    Samuel Valenzuela            Estella                     Valdez      Tomas
Hubbard      Barbara Garcia Joseph            Smith Janie Melcher           Lori   Gomez      Enrique        Mastracchio      JoeAnna     Ron                   Grahovec
Crawford John

Subject      EIC    Final   Report for 28 June

Importance           High


One additional inquiry from this             mornings report



                                                                                        28 June      Final    EIC Report

                     Issuance                0
     1A
                       Inquiry               0

                     Issuance                0
     113

                       Inquiry               0

                     Issuance                0
     2A
                       Inquiry               0

                     Issuance                0
     2B
                       Inquiry               1        One Request         Customer already had an ID

                     Issuance                0
      3
                       Inquiry               0

                     Issuance                0
      4
                       Inquiry               0

                     Issuance                 0

                                                      Herefordone       customer ask about         the   free id      After    visiting   with her we                      determined th

                                                      system the customer decided            to   go home and       get the   documents she                          needed      to   renwe h
      5
                       Inquiry               2
                                                      Lubbock      County Voter registrar and        staff   came   in on   Friday to discuss the certificates                             I
                                                                                                                                                                                               c




                                                      sample Election     Certificate    I   informed    them that the customer have                            to   ask   for   the Electio




                     Issuance                0
     6A
                       Inquiry               0

                     Issuance                0
     6B
                       Inquiry               0

Total      E ICs Issued Today                0

Total      EIC    Inquiries   Today          3

Total      EICs Issued        to   Date      0

Total      EIC    Inquiries   to   Date      11




vr
                                                                                                                    2:13-cv-193
                                                                                                                                          exhibitsticker.com




                                                                                                                    09/02/2014
           BWI•
Togo              Baez
Customer Operations Senior Manager                    South    and West
                                                                                                                    DEF1479

                                                                                                                                                                                      TEX0507854
                 Case 2:13-cv-00193 Document 775-42 Filed on 11/19/14 in TXSD Page 2 of 2
Driver License    Division

Texas   Department of Public    Safety



                  0
tony rodriguezn7dpstexasgov
5124245657
5127399709        C
5124245233        F
The    Driver   License   Division   is   committed to quality and excellence   in   customer service   Please   share your thoughts

with   us via our online customer service survey at httpwwwsurveyutexasedutxdps




                                                                                                                                  TEX0507855
